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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA

 

SOUTHERN DIVISION
UNITED STATES OF AMERICA, 4:19-cr-40015
Plaintiff,
Vv. DEFENDANT’S STATEMENT IN
SUPPORT OF POSTPONEMENT
PAUL ERICKSON,
Defendant.

 

 

I, Paul Erickson, the Defendant herein, consent to a continuance of the October 1,
2019 Jury Trial until on or after December 1, 2019, along with a corresponding
continuance of all other dates and deadlines.

I have been advised of my rights, including the Speedy Trial Act, 18 U.S.C. § 3161
et seq.

I have reviewed the possibility of this postponement with my attorney, Clint
Sargent, and I do consent and agree to a postponement of the trial.

I hereby waive the period of time allowed by this continuance for purposes of
calculating the Speedy Trial deadline.

eo
Dated this _/ 8 day of September 2019.

(Ib,

Paul Erickson
Defendant
